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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                          :
                                                   :
                       v.                          :
                                                   :
 JEFFREY SABOL,                                    :    CRIMINAL NO. 21-CR-35 (EGS)
                                                   :
 PETER FRANCIS STAGER,                             :     UNDER SEAL
                                                   :
 MICHAEL JOHN LOPATIC, SR.,                        :
                                                   :
 CLAYRON RAY MULLINS,                              :
                                                   :
 JACK WADE WHITTON,                                :
                                                   :
 LOGAN JAMES BARNHART,                             ::
                                                   :
 RONALD COLTON MCABEE,                             :
                                                   :
 MASON JOEL COURSON, and                           :
                                                   :
 JUSTIN JERSEY,                                    :
                                                   :
                            Defendants.            :


                                              ORDER

       This matter having come before the Court pursuant to the application of the United States

to publicly docket a redacted version of the Third Superseding Indictment and the arrest warrant

for Justin Jersey, the Court finds that the public’s right of access to information about arrested and

charged defendants justifies the request.




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       1.     IT IS THEREFORE ORDERED that the application is hereby GRANTED, and that

Clerk’s office shall docket the attached redacted version of the Third Superseding Indictment and

the executed arrest warrant for Justin Jersey, but not the unexecuted warrant for Mason Joel

Courson.



Date: December      , 2021                          ___________________________________
                                                    ZIA M. FARUQUI
                                                    UNITED STATES MAGISTRATE JUDGE




                                               2
